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                               United States District Court         May 16, 2024
                               Northern District of Texas        .$5(10,7&+(//
                                    Ft. Worth Division         &/(5.86',675,&7
                                                                     &2857

                     MINUTE ORDER - PRETRIAL CONFERENCE



JUDGE: Terry R. Means

DEPUTY: Michelle Moon

COURT REPORTER: Debbie Saenz


Case No.: 4:24-CR-001-Y U.S.A. v. John Anthony Castro

Date Held: May 16, 2024

Time in Court: 33 min.
Hearing Concluded:       Yes      No


Defense Counsel:
Franklyn R. Mickelsen, Retained
Jason B. Freeman, Retained




Counsel for USA:
P. J. Meitl, AUSA
Nancy E. Larson, AUSA




OTHER INFORMATION:
Bench trial to commence at 1:30 p.m., May 20, 2024.
